                Case 2:17-cv-01536-R-KS Document 1 Filed 02/24/17 Page 1 of 4 Page ID #:1



            1 Christine Neuharth (SBN 263509)
              Email: cneuharth<@reedsmith.com
            2 REED SMITH LL'P
              1901 Avenue of the Stars, Suite 700
            3 Los Angeles CA 90067
              Teleph<Jne: 310. 734.5200
            4 Facsimile: 310.734.5299
            5 Attorneys for Defendant
              Synchrony Bank
            6
            7
            8                          UNITED STATES DISTRICT COURT
            9                         CENTRAL DISTRICT OF CALIFORNIA
           10 LORRAINE MICHIKO NAKASHIMA,                    Case No.: -2:17-cv-1536
                                                                          ----
      ~
      . 11
      ~
                                   Plaintiff,                fRemoval from Superior Court of
     ~
     '5                                                      California, County of Los Angeles, Case
     3     12          vs.                                   No. 17K01232]
..-l
     "'
i:i.. '5
       "
-J .5
::i:: il   13 SYNCHRONY BANK; DOES 1-10                      DEFENDANT SYNCHRONY
t:: 8
~ .8          inclusive,                                     BANK'S NOTICE OF REMOVAL
~i
"1.l c
           14                                                PURSUANT TO 28 U.S.C. § 1441
gJ   i                    Defendants.
     g     15                                                Action Filed: January 25, 2017
     ~
     ]
     ]
           16
     <
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
                   Case No. 2:17-cv-1536              - 1-
                                   SYNCHRONY BANK'S NOTICE OF
                             REMOVAL OF ACTION PURSUANT TO 28 U.S.C. § 1441
          Case 2:17-cv-01536-R-KS Document 1 Filed 02/24/17 Page 2 of 4 Page ID #:2




      l TO THE CLERK OF THE UNITED STATES DISTRICT COURT OF
      2
        THE CENTRAL DISTRICT OF CALIFORNIA:
      3
           PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1331, 1441
      4
        and 1446, Defendant Synchrony Bank ("Synchrony") hereby files a Notice of
      5
        Removal for the above-captioned action from the Superior Court of the State of
      6
        California for the County of Los Angeles to United States District Court for the
      7
        Central District of California. In support of this Notice of Removal, Synchrony
      8
        states as follows:
      9
                1.        Synchrony is a named defendant in a lawsuit that was filed on
     10
           January 25, 2017, in the Superior Court of Los Angeles County, California,
     11
           styled Lorraine Michiko Nakashima v. Synchrony Bank, et. al., No. 17K01232
     12
           ("State Court Action").
     13
                2.        On January 26, 201 7, Plaintiff served Synchrony' s registered
     14
           agent with the Complaint and Summons in the State Court Action, a copy of
     15
           which is attached hereto as Exhibit A.
]    16
]
<(
                3.        On February 24, 2017, Synchrony timely filed this Notice of
     17
           Removal within 30 days of being served with the Complaint and Summons.
     18
           See 28 U.S.C. § 1446(b).
     19
                4.        Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit A is
     20
           a true and correct copy of all substantive records and proceedings from the state
     21
           court filed by or served upon Synchrony.
     22
                5.        The claims of relief alleged in the State Court Action arise under
     23
           a federal statute, the Telephone Consumer Protection Act ("TCPA"), 47 U.S.C.
     24
           §227, et seq. This Court has original subject matter jurisdiction over the above-
     25
           captioned action pursuant to 28 U.S.C. § 1331. See Mims v. Arrow Fin. Servs.,
     26
           LLC, 132 S. Ct. 740, 748 (2012) (holding that TCPA claims plainly arise under
     27
            Case No. 2:17-cv-1536        -2-
     28                       SYNCHRONY BANK'S NOTICE OF
                   REMOVAL OF ACTION PURSUANT TO 28 U.S.C. § 1441
          Case 2:17-cv-01536-R-KS Document 1 Filed 02/24/17 Page 3 of 4 Page ID #:3



      1
           the laws of the United States).
      2
                 6.         To the extent that any other claims in this action may arise under
      3
           state law, supplemental jurisdiction over such claims exists pursuant to 28
      4
           u.s.c. § 1367.
      5
                 7.         This Court is the proper district court for removal because Los
      6
           Angeles County Superior Court is located within the United States District
      7
           Court for the Central District of California.
      8
                 8.         In accordance with 28 U.S.C. § 1446(d), Synchrony will
      9
           promptly serve a copy of this Notice on counsel for Plaintiff and will file a copy
     10
           of the Notice with the Clerk of the Superior Court of Los Angeles County,
     11
           California.
     12
                 9.         There are no other cases related to the instant action, and
     13
           Synchrony has not attempted to remove this case previously.
                 10.        By filing this Notice of Removal, Synchrony does not waive any
     15
           defense to the Complaint including, but not limited to, lack of service, improper
~    16
:Z
<
           service, and/or lack of personal jurisdiction.
     17
                  WHEREFORE, Defendant Synchrony Bank notices the removal of the
     18
            State Court Action to the United States District Court for the Central District of
     19
            California pursuant to 28 U.S.C. §§ 1331, 1441 and 1446.
     20
     21
            DATED: February 24, 2017                    Reed Smith LLP
     22
     23                                                 By:/s/ Christine M Neuharth
     24                                                      Christine M. Neuharth
                                                             Attorneys for Defendant
     25
                                                             Synchrony Bank

     26
     27                                           _g_
            Case No. 2:17-cv-1536
     28                        SYNCHRONY BANK'S NOTICE OF
                 REMOVAL OF ACTION PURSUANT TO 28 U.S.C. § 1441
                  Case 2:17-cv-01536-R-KS Document 1 Filed 02/24/17 Page 4 of 4 Page ID #:4



              1
                                                 PROOF OF SERVICE
              2     I am a resident of the State of California, over the age of eighteen years, and
              3     not a party to the within action. My business address is REED SMITH LLP,
                    1901 Avenue of the Stars, Suite 700, Los Angeles, CA 90067-6078. On
              4     February 24, 2017, I served the following document(s) by the method indicated
              5     below:

              6        DEFENDANT SYNCHRONY BANK'S NOTICE OF REMOVAL
                                  PURSUANT TO 28 U.S.C. § 1441
              7
                        Iii     by placing the document( s) listed above in a sealed envelope(s) and
              8                 consigning it to an express mail service for guaranteed delivery on the
              9                 next business day following the date of consignment to the address( es)
                                set forth below. A copy of the consignment slip is attached to this
             10                 proof of service.
       e
       ~     11
       ~
       'o
                        Iii     by transmitting via email to the parties at the email addresses listed
       3     12                 below:
       "'
c... -5"
.....:1
.....:1 .5
::c:   1l    13
t:     e
:::;; ,£
       :E'                    SERVICE LIST
Cl'J
Cl
P..l
        ~
       I;
             14
~i     ~     15    Todd M. Friedman (216752)
       l]          Adrian R. Bacon (280332)
       ]
             16    Law Offices of Todd M. Friedman, P.C.
       <
             17    21550 Oxnard St., Suite 780
                   Woodland Hills, CA 91367
             18    Phone:877-206-4741
             19    Fax: 866-633-0228
                   Email: tfriedman@toddflaw.com
             20            abacon@toddflaw.com
             21    Attorneys for Plaintiff
             22                  I declare under penalty of perjury under the laws of the State of
                    California that the above is true and correct. Executed on February 24, 2017,
             23
                    at Los Angeles, ~
             24
             25
             26
                                                          ~.Kidd
                                                                              US_ACTIVE-130946846.102124120172:18 PM


             27      Case No. 2:17-cv-1536
             28                        SYNCHRONY BANK'S NOTICE OF
                         REMOVAL OF ACTION PURSUANT TO 28 U.S.C. § 1441
